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                         Case No. 24-1204
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PUBLIC NOTICE
Federal Communications Commission
45 L Street NE                                                                   News Media Information 202 / 418-0500

                                                                                           Internet: https://www.fcc.gov
Washington, DC 20554
                                                                                                   TTY: 1-888-835-5322



                                                                                                       DA 22-443
                                                                                          Released: April 21, 2022

               MEDIA BUREAU ESTABLISHES PLEADING CYCLE FOR APPLICATIONS
              TO TRANSFER CONTROL OF TEGNA INC., TO STANDARD GENERAL, L.P.,
              AND PERMIT-BUT-DISCLOSE EX PARTE STATUS FOR THE PROCEEDING

                                              MB Docket No. 22-162

Petition to Deny Date: May 23, 2022
Opposition Date: June 7, 2022
Reply Date: June 17, 2022

        On March 10, 2022, applications were filed proposing to transfer all outstanding equity interests
in TEGNA Inc. (TEGNA), the ultimate parent of the licensees of 64 full-power television stations, two
full-power radio stations, and other related FCC licenses, to an indirect subsidiary of SGCI Holdings III
LLC (SGCI Holdings), whose Managing Member is Soohyung Kim, the Managing Partner of Standard
General L.P. (Standard General).1
         In addition, applications were filed contemporaneously for a series of related transactions. First,
Standard General affiliate Community News Media LLC proposes to transfer control of its four full-
power television stations2 to a subsidiary of CMG Media Corporation (CMG), which the Bureau
previously determined to be under the de facto control of Apollo Global Management, Inc. (AGM).3
Second, CMG seeks to transfer control of WFXT(TV), Boston, MA, to SGCI Holdings. Finally,
immediately upon consummation of the merger, post-merger TEGNA (New Tegna) proposes to assign
the licenses of four full-power television stations4 to indirect, wholly-owned subsidiaries of CMG.
        In addition to selling several stations to CMG, the parties plan to finance the transaction in part
through sale of nonvoting Series A Preferred Securities to, among others, affiliates of AGM. As set forth


1 A list of the Applications can be found in the Attachments to the Public Notice.   The parties amended the
Applications on March 23, and April 1, 2022. One application covering 10 stations was inadvertently accepted for
filing through the Licensing and Management System (“LMS”) on March 15, 2022. This Public Notice will
determine the pleading cycle for all stations listed in the Attachments, including those that incorrectly have a public
notice date automatically issued through LMS.
2 KBSI(TV), Cape Girardeau, MO; KLKN(TV), Lincoln, NE; WDKA(TV), Paducah, KY; and WLNE-TV, New

Bedford, MA.
3 Terrier Media Buyer, Inc., Declaratory Ruling, 34 FCC Rcd 10544, 10549, paras. 14-15 (MB 2019).

4 KVUE(TV), Austin, TX; KMPX(TV), Decatur, TX; KHOU(TV), Houston, TX; and KTBU(TV), Conroe, TX.




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in detail in a term sheet submitted as an amendment to the applications, “[f]or so long as the Series A
Preferred Securities remain outstanding, without the prior written consent of the Series A Preferred
Majority Holder, [New TEGNA] will not” engage in certain specifically listed corporate actions.5 The
Applicants assert that AGM affiliates will not have an attributable interest in New TEGNA.6
          The National Television Ownership Rule prohibits a single entity from owning television stations
that, in the aggregate, reach more than 39 percent of the total television households in the United States
after taking into account the 50 percent discount applied to UHF stations (UHF Discount).7 The parties
report that the proposed transaction would result in New TEGNA having a national audience reach of
28.46% of U.S. television households if one includes the UHF discount, an ownership share in
compliance with the national cap.8 The parties assert that CMG would have a national audience reach of
10.43% with the UHF discount.9
         The Local Television Ownership Rule allows an entity to own two television stations licensed in
the same Designated Market Area (DMA) if: (1) the digital noise limited service contours of the stations
(as determined by section 73.622(e) of the Commission's rules) do not overlap; or (2) at the time the
application to acquire or construct the station(s) is filed, at least one of the stations is not ranked among
the top-four stations in the DMA, based on the most recent all-day (9 a.m.-midnight) audience share, as
measured by Nielsen Media Research or by any comparable professional, accepted audience ratings
service.10 According to the Applicants, the transactions will not create new combinations in any DMA,
and the existing station combinations would not violate the Local Television Ownership Rule.11 The
Applicants also state that the transactions do not involve the creation of any new joint sales, option, or
time brokerage agreements between CMG’s and New TEGNA’s stations.
EX PARTE STATUS OF THIS PROCEEDING

         In order to assure the staff’s ability to discuss and obtain information needed to resolve the issues
presented by this Public Notice and pursuant to section 1.1200(a) of the Commission’s rules,12 we
establish a docket for this proceeding and announce that the ex parte procedures applicable to permit-but-
disclose proceedings will govern our consideration of these applications.13




5 Term Sheet, Section 10.   Certain entities in the post-closing ownership structure will need specific approval under
Section 310(b)(4) of the Communications Act of 1934 and Section 1.5001(i) of the Commission’s rules. 47 U.S.C.
§ 310(b)(4); 47 CFR § 1.5001(i). A petition for declaratory ruling has been filed in connection with this proceeding.
The staff will issue a separate pleading cycle for the declaratory ruling proceeding by public notice.
6 Comprehensive Exhibit, at 4.

7 See 47 CFR § 73.3555(b)(e)(1) and (2).

8 Comprehensive Exhibit at 2-3.

9 Id.

10 47 CFR § 73.3555(b)(1).

11 Id. at 1, 2, 33.

12 47 CFR § 1.1200(a).

13 See id. § 1.1206.


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         The proceeding in this Public Notice shall be treated as a “permit-but-disclose” proceeding in
accordance with the Commission’s ex parte rules.14 Persons making ex parte presentations must file a
copy of any written presentation or a memorandum summarizing any oral presentation within two
business days after the presentation (unless a different deadline applicable to the Sunshine period applies).
Persons making oral ex parte presentations are reminded that memoranda summarizing the presentation
must (1) list all persons attending or otherwise participating in the meeting at which the ex parte
presentation was made, and (2) summarize all data presented and arguments made during the
presentation. If the presentation consisted in whole or in part of data or arguments already reflected in the
presenter’s written comments, memoranda, or other filings in the proceeding, then the presenter may
provide citations to such data or arguments in his or her prior comments, memoranda, or other filings
(specifying the relevant page and/or paragraph numbers where such data or arguments can be found) in
lieu of summarizing them in the memorandum. Documents shown or given to Commission staff during
ex parte meetings are deemed to be written ex parte presentations and must be filed consistent with rule
1.1206(b).15 Participants in this proceeding should familiarize themselves with the Commission’s ex
parte rules. 16 We strongly urge parties to use the Electronic Comment Filing System (ECFS) to file ex
parte submissions. All ex parte filings must be clearly labeled as such and must reference MB Docket
No. 22-162.
GENERAL INFORMATION
         The applications for transfer of control of licenses referred to in this Public Notice have been
accepted for filing upon initial review. The Commission reserves the right to return any application if,
upon further examination, it is determined to be defective and not in conformance with the Commission’s
rules or policies. Interested persons must file petitions to deny no later than May 23, 2022. Oppositions
to petitions to deny must be filed no later than June 7, 2022. Replies must be filed no later than June 17,
2022. Persons and entities that file petitions to deny become parties to the proceeding.
          To allow the Commission to consider fully all substantive issues regarding the applications in as
timely and efficient a manner as possible, petitioners and commenters should raise all issues in their
initial filings. Replies may only address matters raised in oppositions.17 A party or interested person
seeking to raise a new issue after the pleading cycle has closed must show good cause why it was not
possible for it to have raised the issue previously.18 Submissions after the pleading cycle has closed that
seek to raise new issues based on new facts or newly discovered facts should be filed within 15 days after
such facts are discovered. Absent such a showing of good cause, any issues not timely raised may be
disregarded by the Commission.
         All filings concerning matters referenced in this Public Notice should refer to MB Docket
No. 22-162, as well as the specific file numbers of the individual applications or other matters to which
the filings pertain.




14 47 CFR § 1.1200 et seq.

15 47 CFR § 1.1206(b)

16 Id.

17 Id. § 1.45(c).

18 See id. §§ 1.46(a) and 73.3584(e).


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          Submissions in this matter may be filed electronically (i.e., through ECFS) or by filing paper
copies.

    Electronic Filers: Documents may be filed electronically using the Internet by accessing the
ECFS: http://fjallfoss.fcc.gov/ecfs2/.

         Filings in response to this Public Notice may be sent by commercial overnight courier, or by first-
class or overnight U.S. Postal Service mail. All filings must be addressed to the Commission’s Secretary,
Office of the Secretary, Federal Communications Commission.

         Commercial overnight mail (other than U.S. Postal Service Express Mail and Priority Mail)
must be sent to 9050 Junction Drive, Annapolis Junction, MD 20701.

       U.S. Postal Service first-class, Express, and Priority mail must be addressed to 45 L Street, NE,
Washington, DC 20554.

         Effective March 19, 2020, and until further notice, the Commission no longer accepts any hand
delivered or messenger delivered filings. This is a temporary measure taken to help protect the health and
safety of individuals, and to mitigate the transmission of COVID-19.19


In addition, one copy of each submission must be sent to the following:

         David Brown, Video Division, Media Bureau, e-mail David.Brown@fcc.gov

         Jeremy Miller, Video Division, Media Bureau, e-mail Jeremy.Miller@fcc.gov

         Chris Robbins, Video Division, Media Bureau, e-mail Chris.Robbins@fcc.gov

         Jim Bird, Transaction Team, Office of General Counsel, e-mail Jim.Bird@fcc.gov


    Any submission that is e-mailed to David Brown, Jeremy Miller, Chris Robbins, and Jim Bird should
include in the subject line of the e-mail: (1) MB Docket No. 22-162; (2) the name of the submitting party;
(3) a brief description or title identifying the type of document being submitted (e.g., MB Docket No. 22-
162, TEGNA/Standard Media, Ex Parte Notice).
    People with Disabilities. To request materials in accessible formats for people with disabilities
(braille, large print, electronic files, audio format), send an e-mail to fcc504@fcc.gov or call the
Consumer & Governmental Affairs Bureau at (202) 418-0530 (voice), (202) 418-0432 (TTY).
      The applications are also available electronically through ECFS, which will provide hyperlinks to
the applications in CDBS. ECFS may be accessed on the Commission’s Internet website at
http://www.fcc.gov.




19 FCC Announces Closure of FCC Headquarters Open Window and Change in Hand-Delivery Policy, Public

Notice, 35 FCC Rcd 2788 (OMD 2020). https://www.fcc.gov/fcc-closes-headquarters-open-window-and-changes-
hand-delivery-policy
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   For further information, contact David Brown at (301) 908-5926, Jeremy Miller at (202) 418-1507, or
Chris Robbins at (202) 418-0685. For press inquiries, contact Janice Wise at (202) 418-8165.



By: Chief, Media Bureau




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                                        Attachment

                                 TEGNA Merger Applications
  Call Sign      Community of           Application            Licensee              Facility
                   License               File Nos.                                     ID

WUPL(TV)      Slidell, LA               0000186355    Belo TV, Inc.                   13938

WBXN-CD       New Orleans, LA           0000186356    Belo TV, Inc.                   70419

KTHV(TV)      Little Rock, AR           0000186358    Cape Publications, Inc.         2787

KFSM-TV       Fort Smith, AR            0000186359    Cape Publications, Inc.         66469

WZZM(TV)      Grand Rapids, MI          0000186369    Combined Communications         49713
                                                      of Oklahoma, LLC

KENS(TV)      San Antonio, TX           0000186371    KENS-TV, Inc.                   26304

KFMB-TV       San Diego, CA             0000186372    KFMB-TV, LLC                    42122

KING-TV       Seattle, WA               0000186389    KING Broadcasting               34847
                                                      Company

KREM(TV)      Spokane, WA               0000186391    KING Broadcasting               34868
                                                      Company

KTVB(TV)      Boise, ID                 0000186394    KING Broadcasting               34858
                                                      Company

K15IO-D       McCall & New              0000186397    KING Broadcasting               34869
              Meadows, ID                             Company

K16JE-D       Glenns Ferry, ID          0000186393    KING Broadcasting              188132
                                                      Company

K17KF-D       Cambridge, ID             0000186392    KING Broadcasting              188131
                                                      Company

K21CC-D       Lewiston, ID              0000186390    KING Broadcasting               50532
                                                      Company

K23KY-D       Council, ID               0000186399    KING Broadcasting               11446
                                                      Company

K29NB-D       Cascade, ID               0000186396    KING Broadcasting               34884
                                                      Company




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K30QA-D      Coeur D’Alene, ID        0000186398   KING Broadcasting               34861
                                                   Company

KTFT-LD      Twin Falls, ID           0000186395   KING Broadcasting              167056
                                                   Company

KONG(TV)     Everett , WA             0000186373   KONG-TV, Inc.                   35396

KSKN(TV)     Spokane, WA              0000186387   KSKN Television, Inc.           35606

KTTU(TV)     Tucson, AZ               0000186400   KTTU-TV, Inc.                   11908

KWES-TV      Odessa, TX               0000186401   KWES Television, LLC            42007

KXTV(TV)     Sacramento, CA           0000186403   KXTV, LLC                       25048

KBMT(TV)     Beaumont, TX             0000186374   LSB Broadcasting, Inc.          10150

KCEN-TV      Temple, TX               0000186384   LSB Broadcasting, Inc.          10245

KIDY(TV)     San Angelo, TX           0000186376   LSB Broadcasting, Inc.          58560

KIII(TV)     Corpus Christi, TX       0000186379   LSB Broadcasting, Inc.          10188

KXVA(TV)     Abilene, TX              0000186377   LSB Broadcasting, Inc.          62293

KYTX(TV)     Nacogdoches, TX          0000186385   LSB Broadcasting, Inc.          55644

KUIL-D       Beaumont, TX             0000186380   LSB Broadcasting, Inc.         168234

KAGS-LD      Bryan, TX                0000186378   LSB Broadcasting, Inc.          10246

KIDB-LD      Sweetwater, TX           0000186375   LSB Broadcasting, Inc.          53545

KIDU-LD      Brownwood, TX            0000186383   LSB Broadcasting, Inc.          58559

KIDV-LD      Albany, TX               0000186381   LSB Broadcasting, Inc.          58571

KVHP-LD      Jasper, TX               0000186382   LSB Broadcasting, Inc.         168235

WGRZ(TV)     Buffalo, NY              0000186402   Multimedia Entertainment,       64547
                                                   LLC

KARE(TV)     Minneapolis, MN          0000186415   Multimedia Holdings             23079
                                                   Corporation

KNAZ-TV      Flagstaff, AZ            0000186416   Multimedia Holdings             24749
                                                   Corporation




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KPNX(TV)   Mesa, AZ                  0000186424   Multimedia Holdings             35486
                                                  Corporation

K06AE-D    Prescott, AZ              0000186422   Multimedia Holdings             35274
                                                  Corporation

K26OD-D    Globe, AZ                 0000186421   Multimedia Holdings             35487
                                                  Corporation

KPSN-LD    Payson, AZ                0000186417   Multimedia Holdings             63396
                                                  Corporation

KTVD(TV)   Denver, CO                0000186423   Multimedia Holdings             68581
                                                  Corporation

KUSA(TV)   Denver, CO                0000186419   Multimedia Holdings             23074
                                                  Corporation

WJXX(TV)   Orange Park, FL           0000186420   Multimedia Holdings             11893
                                                  Corporation

WTLV(TV)   Jacksonville, FL          0000186418   Multimedia Holdings             65046
                                                  Corporation

KSDK(TV)   St. Louis, MO             0000186404   Multimedia KSDK, LLC            46981

WATL(TV)   Atlanta, GA               0000186406   Pacific and Southern, LLC       22819

WLTX(TV)   Columbia, SC              0000186407   Pacific and Southern, LLC       37176

WMAZ-TV    Macon, GA                 0000186409   Pacific and Southern, LLC       46991

WXIA-TV    Atlanta, GA               0000186408   Pacific and Southern, LLC       51163

WBNS(AM)   Columbus, OH              0000186364   RadiOhio, Incorporated          54901

WBNS-FM    Columbus, OH              0000186363   RadiOhio, Incorporated          54701

WHAS-TV    Louisville, KY            0000186405   Sander Operating Co. I          32327
                                                  LLC D/B/A WHAS
                                                  Television

KGW(TV)    Portland, OR              0000186444   Sander Operating Co. III        34874
                                                  LLC D/B/A KGW
                                                  Television

K16ML-D    Corvallis, OR             0000186450   Sander Operating Co. III        34851
                                                  LLC D/B/A KGW
                                                  Television



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K17HA-D     Astoria, OR                0000186449    Sander Operating Co. III      130923
                                                     LLC D/B/A KGW
                                                     Television

K19LT-D     Prineville, etc., OR       0000186445    Sander Operating Co. III       34864
                                                     LLC D/B/A KGW
                                                     Television

K25KS-D     The Dalles, OR             0000186452    Sander Operating Co. III       34844
                                                     LLC D/B/A KGW
                                                     Television

K28MJ-D     Tillamook, OR              0000186446    Sander Operating Co. III      189303
                                                     LLC D/B/A KGW
                                                     Television

K29AZ-D     Newport, OR                0000186448    Sander Operating Co. III       34865
                                                     LLC D/B/A KGW
                                                     Television

K35HU-D     Grays River, WA            0000186451    Sander Operating Co. III       34870
                                                     LLC D/B/A KGW
                                                     Television

KGWZ-LD     Portland, OR               0000186447    Sander Operating Co. III       30810
                                                     LLC D/B/A KGW
                                                     Television

KMSB(TV)    Tucson, AZ                 0000186388    Sander Operating Co. V         44052
                                                     LLC D/B/A KMSB
                                                     Television

KCWI-TV     Ames, IA                   0000186425    TEGNA Broadcast                51502
                                                     Holdings, LLC

WCCT-TV     Waterbury, CT              0000186430    TEGNA Broadcast                14050
                                                     Holdings, LLC

WNEP-TV     Scranton, PA               0000186427    TEGNA Broadcast                73318
                                                     Holdings, LLC

WOI-DT      Ames, IA                   0000186435    TEGNA Broadcast                8661
                                                     Holdings, LLC

WPMT        York, PA                   0000186439    TEGNA Broadcast                10213
                                                     Holdings, LLC

WQAD-TV     Moline, IL                 0000186438    TEGNA Broadcast                73319
                                                     Holdings, LLC



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WTIC-TV     Hartford, CT              0000186428    TEGNA Broadcast                   147
                                                    Holdings, LLC

WZDX(TV)    Huntsville, AL            0000186429    TEGNA Broadcast                  28119
                                                    Holdings, LLC

W07DC-D     Allentown/                0000186437    TEGNA Broadcast                  73325
            Bethlehem, PA                           Holdings, LLC

W10CP-D     Towanda, PA               0000186431    TEGNA Broadcast                  73320
                                                    Holdings, LLC

W14CO-D     Clarks Summit, etc.,      0000186432    TEGNA Broadcast                  73326
            PA                                      Holdings, LLC

W15CO-D     Towanda, PA               0000186436    TEGNA Broadcast                  73324
                                                    Holdings, LLC

W20AD-D     Williamsport, PA          0000186433    TEGNA Broadcast                  73321
                                                    Holdings, LLC

W26CV-D     Mansfield, PA             0000186426    TEGNA Broadcast                 129499
                                                    Holdings, LLC

W29FQ-D     Pottsville, PA            0000186434    TEGNA Broadcast                  73327
                                                    Holdings, LLC

WTSP(TV)    St. Petersburg, FL        0000186365    Tegna East Coast                 11290
                                                    Broadcasting, LLC

WLBZ(TV)    Bangor, ME                0000186368    Tegna East Coast                 39644
                                                    Broadcasting, LLC

WCSH(TV)    Portland, ME              0000186366    Tegna East Coast                 39664
                                                    Broadcasting, LLC

WGCI-LD     Skowhegan, ME             0000186367    Tegna East Coast                 39642
                                                    Broadcasting, LLC

WATN-TV     Memphis, TN               0000186411    TEGNA Memphis                    11907
                                                    Broadcasting, Inc.

WLMT(TV)    Memphis, TN               0000186412    TEGNA Memphis                    68518
                                                    Broadcasting, Inc.

WTHR(TV)    Indianapolis, IN          0000186414    VideoIndiana, Inc.               70162

WALV-CD     Indianapolis, IN          0000186413    VideOhio, Inc.                   70161

WBIR-TV     Knoxville, TN             0000186443    WBIR-TV, LLC                     46984


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 WBNS-TV            Columbus, OH               0000186362        WBNS-TV, Inc.                      71217

 WCNC-TV            Charlotte, NC              0000186440        WCNC-TV, Inc.                      32326

 W17EE-D            Lilesville/                0000186441        WCNC-TV, Inc.                      32316
                    Wadesboro, NC

 W36FB-D            Briscoe, NC                0000186442        WCNC-TV, Inc.                      32317

 WFAA(TV)           Dallas, TX                 0000186453        WFAA-TV, Inc.                      72054

 WFMY-TV            Greensboro, NC             0000186454        WFMY Television, LLC               72064

 WKYC(TV)           Cleveland, OH              0000186455        WKYC-TV, LLC                       73195

 WTOL(TV)           Toledo, OH                 0000186456        WTOL Television, LLC               13992

 WUSA(TV)           Washington, D.C.           0000186457        WUSA-TV, Inc.                      65593

 WVEC(TV)           Hampton, VA                0000186459        WVEC Television, LLC               74167

 WJHJ-LP20          Newport News, Etc.,             **           WVEC Television, LLC               35137
                    VA

 WYSJ-CD21          Yorktown, VA                    **           WVEC Television, LLC               35134

 WWL-TV             New Orleans, LA            0000186352        WWL-TV, Inc.                       74192



                                  Texas Stations to Be Acquired by CMG
    Call Sign          Community of           Application File           Licensee             Facility ID
                         License                   Nos.

 KHOU(TV)             Houston, TX               0000186461          KHOU-TV, Inc.                34529

 KTBU(TV)             Conroe, TX                0000186460          KHOU-TV, Inc.                28324

 KMPX(TV)             Decatur, TX               0000186462          WFAA-TV, Inc.                73701

                                                0000186458          KVUE                         35867
 KVUE(TV)             Austin, TX
                                                                    Television, Inc.




20 Currently in the process of being acquired by TEGNA licensee WVEC Television, LLC.   See LMS File No.
0000187978
21 Currently in the process of being acquired by TEGNA licensee WVEC Television, LLC.   See LMS File No.
0000187977
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                              Community News Media Transfers
  Call Sign      Community of          Application             Licensee              Facility
                   License              File Nos.                                      ID

KLKN(TV)      Lincoln, NE              0000186354     KLKN Lincoln License            11264
                                                      LLC

WLNE-TV       New Bedford, MA          0000186357     WLNE Providence License         22591
                                                      LLC

WDKA(TV)      Paducah, KY              0000186361     Paducah Television License      39561
                                                      LLC

KBSI(TV)      Cape Girardeau, MO       0000186360     Paducah Television License      19593
                                                      LLC



                                       WFXT Sale
 Call Sign      Community of          Application              Licensee              Facility
                  License              File Nos.                                       ID

WFXT(TV)      Boston, MA              0000186353      Teton Opco Corp.                6463




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